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  EXHIBIT B
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                                           EXHIBIT A

                                         DEFINITIONS

         The following definitions shall apply to each Request and be construed in the broadest

sense permitted by the Federal Rules, the Bankruptcy Rules, the Local Rules, or any other

applicable law or rules.

       1.      “ARPA” shall mean the American Rescue Plan Act of 2021.

       2.      “Bankruptcy Case” shall mean Case No. 23-11069, currently pending in the

United States Bankruptcy Court for the District of Delaware.

       3.      “Communication” or “Communications” shall mean the transmittal of

information of any kind, in any form, and by any means, and therefore includes, but is not limited

to, any telephone conversation, face-to-face meeting or conversation, visit, conference, internal or

external discussion, or exchange of Documents. All written Communications shall include,

without limitation, electronic, printed, typed, handwritten or other readable Documents,

correspondence, memoranda, reports, contracts, both initial and subsequent, diaries, logbooks,

minutes, notes, studies, surveys, forecasts, emails, text messages, and instant messages. A Request

for Documents concerning any Communication among or between specified parties includes a

request for any Communication among or between such parties, whether or not such

Communication included or was directed to any other person.

       4.      “Concerning” shall mean, in addition to its usual and customary meaning, relating

to, discussing, mentioning, evidencing, identifying, embodying, constituting, effecting, referring

to, assessing, recording, analyzing, describing, evaluating, memorializing, about, regarding,

touching upon, listing, or reflecting the matter specified in the Request.




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       5.        “CSPF,” shall mean Central States Pension Fund, Central States, Southeast and

Southwest Areas Pension Fund, and Central States, Southeast and Southwest Areas Health and

Welfare Fund.

       6.        “Debtors” shall mean Yellow Corporation and the other debtors and debtors in

possession set forth at https://dm.epiq11.com/YellowCorporation.

       7.        “Debtors’ Objection” shall mean the Debtors’ Objection to the POCs filed by

CSPF and available at Docket No. 1322 in the Bankruptcy Case.

       8.        “Document” or “Documents” shall have the meaning ascribed by Rule 7034 of the

Federal Rules of Bankruptcy Procedure, including, without limitation, any tangible thing upon

which any expression, communication, or representation has been recorded by any means,

including, but not limited to, handwriting, typewriting, printing, photostating, photographing,

videotaping, magnetic impulse, computer disks, computer storage drives, computer tapes, or

mechanical, electronic, or digital recording or information storage of any kind, and any non-

identical copies (whether different from the original because of notes made on such copies, because

of indications that said copies were sent to different individuals than were the originals, or because

of any other reason), including, but not limited to, working papers, preliminary, intermediate or

final drafts, correspondence, memoranda, electronic mail, charts, notes, records of any sort of

meetings, financial calculations, diaries, reports of telephone or other oral conversations, desk

calendars, appointment books, and all other writings and recordings of every kind that are in your

actual or constructive possession, custody, or control.

       9.        “Including,” shall mean “including, but not limited to” and “including, without

limitation.”




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       10.      “PBGC,” “You,” or “Your” shall mean Pension Benefit Guaranty Corporation, as

well as any of its present or former agents, affiliates, controlled subsidiaries, officers, directors,

managers, principals, members, employees, independent contractors, advisory board members,

financial    advisors,   partners,   attorneys,   accountants,   investment   bankers,    consultants,

representatives, and other professionals, each in their capacity as such, affiliates, divisions,

professionals, and all other persons acting or purporting to act on its behalf.

       11.      “Person” or “Persons” shall mean all individuals and entities and include, without

limitation, natural persons, partnerships, associations, groups, organizations, joint ventures,

corporations, government agencies (federal, state, or local), and any other business or legal entities.

       12.      “POCs” shall mean any and all proofs of claim CSPF filed in this Bankruptcy Case.

       13.      “Special Financial Assistance” shall mean the special financial assistance

authorized by and available to multiemployer pension plans under ARPA.

       14.      “Unfunded Vested Benefits” shall have the meaning set forth in Section 4213(c)

of the Employee Retirement Income Security Act of 1974.

                                          INSTRUCTIONS

        1.      You are required to search for all documents within your possession, custody, or

control, wherever located, including, without limitation, any documents placed in storage facilities

or in the possession of any employee, agent, representative, attorney, investigator, or other person

acting or purporting to act on your behalf (whether located at his/her residence or place(s) of

business), in order to fully respond to these Requests.

        2.      All Requests shall be deemed to include requests for any and all transmittal sheets,

cover letters, enclosures, or any other annexes or attachments to the documents. You are to

produce the original and all non-identical copies, including all drafts of each document requested.




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If You are not able to produce the original of any document, please produce the best available copy

and all non-identical copies, including drafts.

        3.        Documents shall be produced as they are kept in the ordinary course of business or

shall be organized and labeled to correspondence with the categories in each Request. The name

of the file from which it was produced, the identity of the person from whose file it was produced,

and the identity of the present custodian of that file shall be set forth. All documents requested

herein shall be produced electronically as tagged image file format (“TIFF”) or portable document

format (“PDF”) files, except that all spreadsheets and accounting and financial data, including

those created with Excel software, shall be produced in a fully functional native form (i.e., in a

linked format).

        4.        If the meaning of any term in any Request herein is unclear to You, without waiving

of the right to seek a full and complete response to the Request, You shall assume a reasonable

meaning, state what the assumed meaning is, and respond to the Request according to the assumed

meaning.

        5.        Each Request shall be deemed continuing so as to require prompt supplementation

if You obtain, generate, or discover additional documents or information. If, after responding,

You obtain or become aware of any additional documents or information responsive to these

Requests, production of such additional documents or information shall be made forthwith as

required by Rule 26 of the Federal Rules, as incorporated by Rules 7026 and 9014 of the

Bankruptcy Rules, as applicable.

        6.        Unless a different time period is specified, the period covered by these discovery

requests is from January 1, 2022, to the present.




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        7.     If you claim that any Document or Communication responsive to any Request is

privileged or otherwise immune from discovery as work product, You shall respond to the Request

to the extent to which it is not objected and explain the grounds upon which the objection is based

by providing a full identification of the withheld documents or portion thereof, including:

               a.      its date;

               b.      the identity of all persons who prepared, signed and/or were involved with
                       the Document or Communication;

               c.      the nature of the Document or Communication (e.g., letter, photo, etc.);

               d.      a summary of its contents or its general subject matter;

               e.      the identities of all persons to whom the Document, Communication, or any
                       copies thereof were circulated or its contents communicated; and

               f.      the specific grounds for not responding in full, including the nature of the
                       privilege (e.g., attorney client privilege, work product) or other rule of law
                       relied upon to withhold the Document or Communication, and the facts
                       supporting those grounds.

        8.     Any purportedly privileged document containing non-privileged matter must be

produced, with the purportedly privileged portion redacted.

        9.     If You are aware of any Document or Communication requested to be produced

that has been lost, discarded, destroyed, or is otherwise not available for production for any reason

whatsoever, You shall provide:

               a.      a full identification of each such Document or Communication, including
                       its author, addressee, recipient, date, and general type (e.g., letter, report)

               b.      a summary of its contents or general subject matter;

               c.      the identities of all persons who participated in preparing and/or signing the
                       Document or Communication;

               d.      the date and manner of disposal and the reason for disposal;

               e.      the identity of any person who has possession, custody, or control of a
                       partial or complete copy of such Document or Communication; and



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                  f.      the identity of all persons who participated in and/or authorized the
                          destruction or discarding or who have knowledge of the date and
                          circumstances surrounding the destruction or discarding.

         10.      Whenever necessary to bring within the scope of a Request any documents or

information that might otherwise be construed as outside its scope:

                  a.      The use of a verb in any tense shall be construed as the use of that verb in
                          all other tenses;

                  b.      The use of a word in its singular form shall be deemed to include within its
                          use the plural form, and vice versa;

                  c.      The use of the masculine form of a noun or pronoun shall include the
                          feminine form, and vice versa;

                  d.      The use of the conjunctive or disjunctive, respectively, shall be construed
                          as necessary to be inclusive rather than exclusive;

                  e.      The use of terms “and,” “or,” or “and/or” shall be construed as
                          encompassing “and,” “or,” and “and/or,”; and

                  f.      The terms “all,” “each,” and “all/each” shall be construed as all, each, and
                          any.

                                     DOCUMENTS REQUESTED

        1.        All Documents and Communications (internal to CSPF or with third parties)

Concerning either of CSPF’s applications for Special Financial Assistance under ARPA 1 or any

drafts thereof.

        2.        All Documents and Communications Concerning the representation in CSPF’s

Special Financial Assistance application that “any withdrawal liability collection [from the

Debtors] would be de minimis” or Your review, evaluation, or analysis of the same.




1
 See https://www.pbgc.gov/sites/default/files/documents/central-states-sfa-app.pdf; and
https://www.pbgc.gov/sites/default/files/documents/central-states-sfa-revised.pdf


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        3.       All Documents and Communications Concerning the representation in CSPF’s

Special Financial Assistance application that there would be ““[z]ero future withdrawal liability

payments . . . for [Debtors]” or Your review, evaluation, or analysis of the same.

        4.       All Documents and Communications Concerning the presence or absence of

Unfunded Vested Benefits at CSPF following CSPF’s receipt of Special Financial Assistance.

        5.       All Documents and Communications Concerning what the $35.8 billion in Special

Financial Assistance awarded to CSPF was intended to cover.

        6.       All Documents and Communications Concerning CSPF’s projected solvency

and/or ability to satisfy CSPF’s projected benefit payments and expenses.

        7.       All Documents and Communications since January 1, 2021, Concerning the

Debtors’ participation in CSPF; any actual or potential withdrawal liability of the Debtors; or

CSPF’s decision to deem the Debtors’ participation in CSPF terminated as of July 23, 2023. 2

        8.       All Documents and Communications (internal within PBGC or with any third

parties) Concerning 87 FR 40968, including, without limitation, all Documents and

Communications Concerning Your decision to request phased recognition of Special Financial

Assistance in a plan’s determination of withdrawal liability.

        9.       All Communications between You and CSPF regarding: (a) the Debtors’ chapter

11 cases; (b) any of CSFP’s POCs; or (c) the Debtors’ Objection to CSPF’s POCs.

        10.      All Communications (internal within PBGC or with any third parties) regarding (a)

the Debtors’ chapter 11 cases; (b) any of CSFP’s POCs; or (c) the Debtors’ Objection to CSPF’s

POCs.



2
  https://mycentralstatespension.org/yrc-inc-and-usf-holland-llc-
faqs#:~:text=As%20notified%20previously%2C%20Yellow's%20participation,for%20maintaining%20future%20pe
nsion%20coverage.


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